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Exhibit 80
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From:
Sent: Monday, May 09, 2016 3:09 AM
To: Welty, Scott
Subject:



Captain Welty, I am sending you this email in response to our conversation yesterday. It has
become increasingly difficult for me to do my job effectively and efficiently with the
intimidation and threats from some of my union brothers and sisters. I am not sure if you are
aware of the “BOOT” program that is being promoted by the union. BOOT stands for block out
on time. We are being told that we should not release the brakes until scheduled block out time
even if we are ready to leave before. There is also the “SHOP” program (Stop helping out
Purchase). We are being told that this is going to put pressure on the company to negotiate a
contract quickly. I not only do not think that this is going to have any effect whatsoever on
contract negotiations, but it is keeping me from getting my ship, crew and freight on the way as
soon as I can. Both Captain’s                   and              are threatening to release names on
the Atlas Air GC comms web site of those that leave before scheduled block time. Captain
          is intimidating crewmembers directly in the                 in CVG with the same
rhetoric. All I want to do is fly my trips and enjoy my time off. I came here to fly airplanes not
play games like children in the playground.




          Captain
